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                                                                                6
                                                                                             v
                        IN THE UNITED STATES DISTRICT COLTRT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION                                   L.          - 3. 21

UNITED STATES OF AMERICA

               v.                                   CR. NO.
                                                              [18 U.S.C.§ 1951(a);
                                                              18 U.S.C. § 1951(b)(1);
                                                              18 U.S.C.§ 924(c)]

DEGREGORY DEON LEE, and
DIAMOND MATHIS
                                                    INDICTMENT

The Grand Jury charges:

                                           COUNT 1
                                          (Conspiracy)

       From on or about October 24, 2016 and continuing until October 31, 2016, in

Montgomery County, within the Middle District of Alabama,

                                DEGREGORY DEON LEE and
                                   DIAMOND MATHIS,

defendants herein, did unlawfully conspire to obstruct, delay, and affect commerce, as that term

is defined in Title 18, United States Code, Section 1951, and the movement of articles and

commodities in such commerce, by robbery, as that term is defined in Title 18, United States

Code, Section 1951, in violation of Title 18, United States Code, Section 1951 (a),(b)(1).

                                          COUNT 2
                                     (Hobbs Act Robbery)

       On or about October 24, 2016, in Montgomery County, within the Middle District of

Alabama,

                                DEGREGORY DEON LEE and
                                   DIAMOND MATHIS,
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defendants herein, while aiding and abetting each other, did knowingly and intentionally commit

robbery as that term is defined in 18 U.S.C. § 1951(b)(1), and thereby obstruct, delay, and affect

commerce and the movement of articles and commodities in commerce, as that term is defined in

Title 18, United States Code, Section 1951(b)(3), in that the defendants did rob at gunpoint, U.S.

and S.S., at the Hyundai Market store located at 5816 Woodmere Boulevard, Montgomery,

Alabama, a business whose products and inventory traveled in interstate and foreign commerce.

All in violation of Title 18, United States Code, Section 1951(a).

                                          COUNT 3
                      (Brandishing a Firearm During a Crime of Violence)

       On or about October 24, 2016, in Montgomery County, within the Middle District of

Alabama,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

defendants herein, while aiding and abetting each other, did knowingly use and carry a firearm

during and in relation to, did possess said firearm in furtherance of, and did brandish said firearm

during the course of, a crime of violence for which they may be prosecuted in a Court ofthe

United States, to wit:"Hobbs Act Robbery" in violation of Title 18, United States Code, Section

1951(a), as charged in Count 2 of this Indictment. All in violation of Title 18, United States

Code, Section 924(c)(1)(A).

                                           COUNT 4
                                      (Hobbs Act Robbery)

       On or about October 24, 2016, in Montgomery County, within the Middle District of

Alabama,
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                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

defendants herein, while aiding and abetting each other, did knowingly and intentionally commit

robbery as that term is defined in 18 U.S.C. § 1951(b)(1), and thereby obstruct, delay, and affect

commerce and the movement of articles and commodities in commerce, as that term is defined in

Title 18, United States Code, Section 1951(b)(3), in that the defendants did rob at gunpoint, S.S.

and J.P., at the Midori Sushi Bar, located at 5824 Woodmere Boulevard, Montgomery, Alabama,

a business whose products and inventory traveled in interstate and foreign commerce. All in

violation of Title 18, United States Code, Section 1951(a).

                                          COUNT 5
                      (Brandishing a Firearm During a Crime of Violence)

       On or about October 24, 2016, in Montgomery County, within the Middle District of

Alabama,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

defendants herein, while aiding and abetting each other, did knowingly use and carry a firearm

during and in relation to, did possess said firearm in furtherance of, and did brandish said firearm

during the course of, a crime of violence for which they may be prosecuted in a Court of the

United States, to wit: "Hobbs Act Robbery'in violation of Title 18, United States Code, Section

1951(a), as charged in Count 4 of this Indictment. All in violation of Title 18, United States

Code, Section 924(c)(1)(A).

                                           COUNT 6
                                      (Hobbs Act Robbery)

       On or about October 25, 2016, in Montgomery County, within the Middle District of
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Alabama,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

defendants herein, while aiding and abetting each other, did knowingly and intentionally commit

robbery as that term is defined in 18 U.S.C. § 1951(b)(1), and thereby obstruct, delay, and affect

commerce and the movement of articles and commodities in commerce, as that term is defined in

Title 18, United States Code, Section 1951(b)(3), in that the defendants did rob at gunpoint,

K.K., at the Alabama Hotel, located at 5924 Monticello Drive, Montgomery, Alabama, a

business whose products and inventory traveled in interstate and foreign commerce. All in

violation of Title 18, United States Code, Section 1951(a).

                                          COUNT 7
                      (Brandishing a Firearm During a Crime of Violence)

       On or about October 25, 2016, in Montgomery County, within the Middle District of

Alabama,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

defendants herein, while aiding and abetting each other, did knowingly use and carry a firearm

during and in relation to, did possess said firearm in furtherance of, and did brandish said firearm

during the course of, a crime of violence for which they may be prosecuted in a Court ofthe

United States, to wit: "Hobbs Act Robbery" in violation of Title 18, United States Code, Section

1951(a), as charged in Count 6 of this Indictment. All in violation of Title 18, United States

Code, Section 924(c)(1)(A).
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                                            COUNT 8
                                       (Hobbs Act Robbery)

        On or about October 26, 2016, in Montgomery County, within the Middle District of

Alabama, and elsewhere,

                                   DEGREGORY DEON LEE,

defendant herein, did knowingly and intentionally commit robbery as that term is defined in 18

U.S.C. § 1951(b)(1), and thereby obstruct, delay, and affect commerce and the movement of

articles and commodities in commerce, as that term is defined in Title 18, United States Code,

Section 1951(b)(3), in that the defendant did rob at gunpoint, H.H.W. and S.D., at the King

Garden Restaurant, located at 6228 Atlanta Highway, Montgomery, Alabama, a business whose

products and inventory traveled in interstate and foreign commerce. All in violation of Title 18,

United States Code, Section 1951(a).

                                          COUNT 9
                      (Brandishing a Firearm During a Crime of Violence)

       On or about October 26, 2016, in Montgomery County, within the Middle District of

Alabama, and elsewhere,

                                  DEGREGORY DEON LEE,

defendant herein, did knowingly use and carry a firearm during and in relation to, did possess

said firearm in furtherance of, and did brandish said firearm during the course of, a crime of

violence for which he may be prosecuted in a Court of the United States, to wit: "Hobbs Act

Robbery" in violation of Title 18, United States Code, Section 1951(a), as charged in Count 8 of

this Indictment. All in violation of Title 18, United States Code, Section 924(c)(1)(A).
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                                           COUNT 10
                                       (Hobbs Act Robbery)

        On or about October 26, 2016, in Montgomery County, within the Middle District of

Alabama, and elsewhere,

                                   DEGREGORY DEON LEE,

defendant herein, did knowingly and intentionally commit robbery as that term is defined in 18

U.S.C. § 1951(b)(1), and thereby obstruct, delay, and affect commerce and the movement of

articles and commodities in commerce, as that term is defined in Title 18, United States Code,

Section 1951(b)(3), in that the defendant did rob at gunpoint, G.T. and L.H., at the San Marcos

Restaurant, located at 61 North Burbank Drive, Montgomery, Alabama, a business whose

products and inventory traveled in interstate and foreign commerce. All in violation of Title 18,

United States Code, Section 1951(a).

                                          COUNT 11
                      (Brandishing a Firearm During a Crime of Violence)


       On or about October 26, 2016, in Montgomery County, within the Middle District of

Alabama, and elsewhere,

                                  DEGREGORY DEON LEE,

defendant herein, did knowingly use and carry a firearm during and in relation to, did possess

said firearm in furtherance of, and did brandish said firearm during the course of, a crime of

violence for which he may be prosecuted in a Court of the United States, to wit:"Hobbs Act

Robbery" in violation of Title 18, United States Code, Section 1951(a), as charged in Count 10

of this Indictment. All in violation of Title 18, United States Code, Section 924(c)(1)(A).
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                                          COUNT 12
                                      (Hobbs Act Robbery)

        On or about October 30, 2016, in Montgomery County, within the Middle District of

Alabama, and elsewhere,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

defendants herein, while aiding and abetting each other, did knowingly and intentionally commit

robbery as that term is defined in 18 U.S.C. § 1951(b)(1), and thereby obstruct, delay, and affect

commerce and the movement of articles and commodities in commerce, as that term is defined in

Title 18, United States Code, Section 1951(b)(3), in that the defendants did rob at gunpoint,

Y.D.L. and J.L., at the China King Restaurant, located at 3002 Zelda Road, Montgomery,

Alabama, a business whose products and inventory traveled in interstate and foreign commerce.

All in violation of Title 18, United States Code, Section 1951(a).

                                          COUNT 13
                          (Brandishing a Firearm During a Crime of Violence)

       On or about October 30, 2016, within the Middle District of Alabama, and elsewhere,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

defendants herein, while aiding and abetting each other, did knowingly use and carry a firearm

during and in relation to, did possess said firearm in furtherance of, and did brandish said firearm

during the course of, a crime of violence for which they may be prosecuted in a Court ofthe

United States, to wit: "Hobbs Act Robbery" in violation of Title 18, United States Code, Section

1951(a), as charged in Count 12 of this Indictment. All in violation of Title 18, United States

Code, Section 924(c)(1)(A).
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                                          COUNT 14
                                      (Hobbs Act Robbery)

        On or about October 30, 2016, in Montgomery County, within the Middle District of

Alabama,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

defendants herein, while aiding and abetting each other, did knowingly and intentionally commit

robbery as that term is defined in 18 U.S.C. § 1951(b)(1), and thereby obstruct, delay, and affect

commerce and the movement of articles and commodities in commerce, as that term is defined in

Title 18, United States Code, Section 1951(b)(3), in that the defendants did rob at gunpoint, X.H.

and K.D., at the Tai Ji Acupressure store, located at 8876 Minnie Brown Road, Montgomery,

Alabama, a business whose products and inventory traveled in interstate and foreign commerce.

All in violation of Title 18, United States Code, Section 1951(a).

                                          COUNT 15
                          (Brandishing a Firearm During a Crime of Violence)

       On or about October 30, 2016, in Montgomery County, within the Middle District of

Alabama,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

defendants herein, while aiding and abetting each other, did knowingly use and carry a firearm

during and in relation to, did possess said firearm in furtherance of, and did brandish said firearm

during the course of, a crime of violence for which they may be prosecuted in a Court of the

United States, to wit: "Hobbs Act Robbery" in violation of Title 18, United States Code, Section

1951(a), as charged in Count 14 ofthis Indictment. All in violation of Title 18, United States
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Code, Section 924(c)(1)(A).

                                          COUNT 16
                                      (Hobbs Act Robbery)

        On or about October 30, 2016, in Montgomery County, within the Middle District of

Alabama,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

defendants herein, while aiding and abetting each other, did knowingly and intentionally commit

robbery as that term is defined in 18 U.S.C. § 1951(b)(1), and thereby obstruct, delay, and affect

commerce and the movement of articles and commodities in commerce, as that term is defined in

Title 18, United States Code, Section 1951(b)(3), in that the defendants did rob at gunpoint, D.J.,

J.W.K., D.C. and J.H., at the Satsuki Japanese Restaurant, located at 6534 Atlanta Highway,

Montgomery, Alabama, a business whose products and inventory traveled in interstate and

foreign commerce. All in violation of Title 18, United States Code, Section 1951(a).

                                          COUNT 17
                          (Brandishing a Firearm During a Crime of Violence)

       On or about October 30, 2016, in Montgomery County, within the Middle District of

Alabama,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

defendants herein, while aiding and abetting each other, did knowingly use and carry a firearm

during and in relation to, did possess said firearm in furtherance of, and did brandish said firearm

during the course of, a crime of violence for which they may be prosecuted in a Court of the

United States, to wit:"Hobbs Act Robbery" in violation of Title 18, United States Code, Section
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1951(a), as charged in Count 16 of this Indictment. All in violation of Title 18, United States

Code, Section 924(c)(1)(A).

                                          COUNT 18
                                      (Hobbs Act Robbery)

        On or about October 31, 2016, in Montgomery County, within the Middle District of

Alabama,

                                   DEGREGORY DEON LEE,

defendant herein, did knowingly and intentionally commit robbery as that term is defined in 18

U.S.C. § 1951(b)(1), and thereby obstruct, delay, and affect commerce and the movement of

articles and commodities in commerce, as that term is defined in Title 18, United States Code,

Section 1951(b)(3), in that the defendant did rob at gunpoint, X.X.C., at the New China

Restaurant, located at 3848 Harrison Road, Montgomery, Alabama, a business whose products

and inventory traveled in interstate and foreign commerce. All in violation of Title 18, United

States Code, Section 1951(a).

                                          COUNT 19
                          (Brandishing a Firearm During a Crime of Violence)

       On or about October 31, 2016, in Montgomery County, within the Middle District of

Alabama,

                                  DEGREGORY DEON LEE,

defendant herein, did knowingly use and carry a firearm during and in relation to, did possess

said firearm in furtherance of, and did brandish said firearm during the course of, a crime of

violence for which he may be prosecuted in a Court of the United States, to wit: "Hobbs Act

Robbery" in violation of Title 18, United States Code, Section 1951(a), as charged in Count 18
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of this Indictment. All in violation of Title 18, United States Code, Section 924(c)(1)(A).

                                           COUNT 20
                                       (Hobbs Act Robbery)

        On or about October 31, 2016, in Montgomery County, within the Middle District of

Alabama,

                                   DEGREGORY DEON LEE,

defendant herein, did knowingly and intentionally commit robbery as that term is defined in 18

U.S.C. § 1951(b)(1), and thereby obstruct, delay, and affect commerce and the movement of

articles and commodities in commerce, as that term is defined in Title 18, United States Code,

Section 1951(b)(3), in that the defendant did rob at gunpoint, M.B., at the El Campesino 2

restaurant, located at 445 North Eastern Boulevard, Montgomery, Alabama, a business whose

products and inventory traveled in interstate and foreign commerce. All in violation of Title 18,

United States Code, Section 1951(a).

                                          COUNT 21
                          (Brandishing a Firearm During a Crime of Violence)

       On or about October 31, 2016, in Montgomery County, within the Middle District of

Alabama,

                                  DEGREGORY DEON LEE,

defendant herein, did knowingly use and carry a firearm during and in relation to, did possess

said firearm in furtherance of, and did brandish said firearm during the course of, a crime of

violence for which he may be prosecuted in a Court ofthe United States, to wit:"Hobbs Act

Robbery" in violation of Title 18, United States Code, Section 1951(a), as charged in Count 20

of this Indictment. All in violation of Title 18, United States Code, Section 924(c)(1)(A).
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                                 FORFEITURE ALLEGATION-1

       A.     The allegations contained in counts 1, 2, 4, 6, 8, 10, 12, 14, 16, 18 and 20 of this

Indictment are hereby realleged and incorporated by reference for the purpose of alleging

forfeitures pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c).

       B.     Upon conviction ofthe offenses in violation ofTitle 18, United States Code,Sections

1951(a) and (b)(1) set forth in counts 1, 2, 4, 6, 8, 10, 12, 14, 16, 18 and 20 ofthis Indictment, the

defendants,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C)

and Title 28, United States Code, Section 2461(c), all proceeds obtained, directly or indirectly,

from the commission ofthe offenses in violation of Title 18, United States Code,Section 1951(a)

and (b)(1). The property includes, but is not limited to, a forfeiture money judgment in the amount

of $6,957.00, more or less.



       C.      If any of the property described above, as a result of any act or omission of the

defendants:

              (1)      cannot be located upon the exercise of due diligence;

              (2)      has been transferred or sold to, or deposited with, a third party;

              (3)      has been placed beyond the jurisdiction of the court;

              (4)      has been substantially diminished in value; or
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               (5)     has been commingled with other property which cannot be divided
                       without difficulty,

the United States of America shall be entitled to forfeiture of substitute property, pursuant to

Title 21, United States Code, Section 853(p), as incorporated by Title 28, United States Code,

Section 2461(c).

        All pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c).

                                 FORFEITURE ALLEGATION-2

        A.     The allegations contained in counts 3, 5, 7, 9, 11, 13, 15, 17, 19 and 21 of this

Indictment are hereby realleged and incorporated by reference for the purpose of alleging

forfeitures pursuant to Title 18, United States Code, Section 924(d)(1) by Title 28, United States

Code, Section 2461(c).

       B.      Upon conviction of the offenses in violation of Title 18, United States Code,

Section 924(c)(1)(A) set forth in counts 3, 5, 7, 9, 11, 13, 15, 17, 19 and 21 of this Indictment, the

defendants,

                                 DEGREGORY DEON LEE and
                                    DIAMOND MATHIS,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d)(1) by

Title 28, United States Code, Section 2461(c), any firearms and ammunition involved in the

commission ofthe offenses in violation of Title 18, United States Code, Section 924(c)(1)(A).

       C.      If any ofthe property described in this forfeiture allegation, as a result of any act

or omission of the defendants:

              (1)      cannot be located upon the exercise of due diligence;
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               (2)     has been transferred or sold to, or deposited with, a third party;

               (3)     has been placed beyond the jurisdiction of the court;

               (4)     has been substantially diminished in value; or

               (5)     has been commingled with other property which cannot be divided
                       without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to Title 21, United

States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

       All pursuant to Title 18, United States Code, Section 924(d)(1) by Title 28, United States

Code, Section 2461(c).




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R. Randolph Neeley
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